                                          THE CITY OF NEW YORK
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                                                                     January 2, 2018
                                                    Application denied.
       BY ECF
       Honorable William H. Pauley, III
       United States District Judge
       United States District Court
       Southern District of New York
       500 Pearl Street
                                                                                                  1-2-18
       New York, NY 10007

                 Re: Smith v. City of New York et al., 17-cv-6104 (WHP)

       Your Honor:

                        I am the Senior Counsel in the Office of Zachary W. Carter, Corporation Counsel
       of the City of New York (“City”), representing defendant City in the above-referenced matter.1
       Defendant City writes to respectfully request that the Court stay this action sine die, pending the
       resolution of the ongoing New York City Department of Correction (“DOC”) internal
       investigation into the subject use of force incident. This is the first request for a stay in this
       matter. This Office was unable to obtain consent for the stay from Plaintiff, who appears pro se,
       as he is presently incarcerated and cannot be reached expeditiously. Should the Court grant this
       request, it will postpone the date by which Defendant City must answer or otherwise respond to
       the Complaint, which is presently due by January 16, 2018; the date by which Officer McQuillar
       must answer or otherwise respond to the complaint, which is presently due by January 8, 2018;
       and the initial case management conference, which is presently scheduled for January 25, 2018 at
       10:30 A.M.




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         This case is assigned to Assistant Corporation Counsel Daron Ravenborg, who is presently
       awaiting admission to Southern District of New York and is handling this matter under my
       supervision. Mr. Ravenborg may be reached directly at 212-356-0822 or
       dravenbo@law.nyc.gov.


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   A. Background Information

                By way of background, Plaintiff filed the complaint in this matter on August 11,
2017, alleging that while he was incarcerated on Rikers Island on May 26, 2017, an unidentified
number of DOC Officers, along with defendant Correction Officer McQuillar, used excessive
force against him in the course of a cell search. (Complaint, Dkt. No. 1 at ¶¶ 8-12). Further,
Plaintiff alleges that unidentified defendants “deprived [him of] proper medical attention,” and
that defendant City failed “to train employees.” (Complaint, Dkt. No. 1 at ¶¶ 27, 31). On October
18, 2017, Your Honor issued an Order of Service which, inter alia¸ ordered Defendant City to
identify several John and Jane Does pursuant to Valentin v. Dinkins, 121 F.3d 72 (2d Cir. 1997).
(Oct. 18, 2017 Order, Dkt. No. 9). On December 14, 2017, Defendant City filed a response to
the Valentin Order. (Dec. 14, 2017 City Response, Dkt. No. 18).

   B. Request for Stay

               In the course of investigating this matter, the undersigned learned that there is an
ongoing DOC Investigations Division investigation arising out of the incident alleged in the
Complaint, and into the alleged actions of the officers identified above. Defendant City therefore
respectfully requests a stay of this matter, pending the resolution of the DOC investigation for
the following reasons.

                First, this Office will be unable to resolve representational issues with the officers
until the aforementioned DOC investigation is complete. See N.Y. Gen. Mun. L. § 50-k;
Mercurio v. City of N.Y., 758 F.2d 862, 854-65 (2d Cir. 1985) (quoting Williams v. City of
N.Y., 64 N.Y.2d 800, 486 N.Y.S.2d 918 (1985) (stating that the decision to represent individual
defendants is made by the Corporation Counsel as set forth in state law)). A stay here would
safeguard against the possibility that a conflict of interest may arise during the pendency of the
litigation. Pursuant to N.Y. General Municipal Law § 50-k, the City is obligated to provide
representation to individual defendants to the extent that they were acting within the scope of
their duties as its employees during the incident in question. Should a stay not be granted, the
City would likely be forced to represent the officers prior to learning the outcome of its own
investigation concerning the officers’ conduct. Should the officers later be found responsible for
any wrongdoing as a result of that investigation, defense counsel may be conflicted out of the
matter entirely and new counsel would need to be retained for all defendants. Such a scenario
would likely cause a greater disruption to the instant action than the requested stay.

                Finally, the parties will likely require the documents associated with the DOC
Investigation Division file, many of which (to the extent that they exist) will be protected from
discovery by the deliberative process privilege prior to the conclusion of the DOC investigation.
See Nat’l Council of La Raza v. Dep’t of Justice, 411 F.3d 350, 356 (2d Cir. 2005) (the
deliberative process privilege is (1) designed to promote the quality of agency decisions by
preserving and encouraging candid discussion between officials, and (2) based on the obvious
realization that officials will not communicate candidly among themselves if each remark is a
potential item of discovery and front page news; an inter-agency or intra-agency document may
be subject to the privilege if it is both pre-decisional and deliberative) (internal citations and
quotations omitted).


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   C. Conclusion

                For the foregoing reasons, Defendant City respectfully requests that the Court
grant a stay of the instant litigation until the conclusion of the DOC investigation. Should the
Court grant the requested stay, at the direction of the Court, the undersigned will file status
letters regarding the progress of the DOC investigation.

                                                           Respectfully submitted,


                                                           ___________/s/______________
                                                           Suzanna Publicker Mettham
                                                           Senior Counsel
                                                           Special Federal Litigation Division




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